Case: 1:99-cr-00545 Document #: 259 Filed: 01/17/01 Page 1 of 6 PageID #:298
Case: 1:99-cr-00545 Document #: 259 Filed: 01/17/01 Page 2 of 6 PageID #:299
Case: 1:99-cr-00545 Document #: 259 Filed: 01/17/01 Page 3 of 6 PageID #:300
Case: 1:99-cr-00545 Document #: 259 Filed: 01/17/01 Page 4 of 6 PageID #:301
Case: 1:99-cr-00545 Document #: 259 Filed: 01/17/01 Page 5 of 6 PageID #:302
Case: 1:99-cr-00545 Document #: 259 Filed: 01/17/01 Page 6 of 6 PageID #:303
